Case 9:24-cr-80116-AMC Document 43-1 Entered on FLSD Docket 10/16/2024 Page 1 of 2


                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 24-80116-CR-CANNON/McCabe

   UNITED STATES OF AMERICA

   vs.

   RYAN WESLEY ROUTH,

                Defendant.
   __________________________________/

                                        PROTECTIVE ORDER

              The United States has filed a motion for a protective order [ECF No. 43] (“Motion”). In

    the Motion, the United States asks the Court to regulate the disclosure to defense counsel of the

    discovery materials in this criminal matter. Id. Having found good cause, the Court hereby

    ORDERS and ADJUDGES as follows:

         1) The Motion [ECF No. 43] is GRANTED.

         2) The United States shall disclose those materials responsive to the Standing Discovery

            Order to defense counsel.

         3) Counsel for the defense shall possess the material responsive to the Standing Discovery

            Order only as necessary for counsel to prepare the case.

         4) Members of the defense team – which include cocounsel, paralegals, legal assistants, expert

            witnesses, and investigators, but exclude defendant Ryan Wesley Routh (“the Defendant”)

            – shall possess the material responsive to the Standing Discovery Order only as necessary

            to prepare the case.

         5) Counsel for the defendant shall ensure that the Defendant and any third party that obtains

            access to the material responsive to the Standing Discovery Order, are provided a copy of

            this Order. Third parties who obtain access to, or possession of, the material responsive to

            the Standing Discovery Order shall not retain such access or possession unless authorized
Case 9:24-cr-80116-AMC Document 43-1 Entered on FLSD Docket 10/16/2024 Page 2 of 2


            by this Order. Any third party who obtains access to, or possession of, the material

            responsive to the Standing Discovery Order shall promptly destroy or return the materials

            once the third party no longer requires access to, or possession of, the material responsive

            to the Standing Discovery Order to assist in the preparation of the case.

         6) The Defendant shall not maintain discovery materials at the Federal Detention Center or

            other jail facility without defense counsel present to prevent the purposeful or unintentional

            dissemination of discovery. Should the Defendant wish to review discovery materials

            without defense counsel present, defense counsel should provide the Defendant with

            properly redacted copies of requested document(s) only after consultation with and

            approval from the United States.

         7) Defense counsel agrees that, when this case is over, it will destroy (or return to the United

            States) the discovery it received. 1

         8) Counsel for the United States and for the defendant shall promptly report any known

            violations of the Court’s order to the Court. Disclosure or use of the material contained in

            the discovery for purposes other than to prepare this case shall constitute a violation of this

            Order.

            DONE and ORDERED in Fort Pierce, Florida this _________ of October 2024.



                                                       ____________________________________
                                                       AILEEN M. CANNON
                                                       UNITED STATES DISTRICT JUDGE

   cc:      All Counsel of Record




   1
     The case will be considered over at the conclusion of any appellate and § 2255 proceedings or, if the Defendant
   doesn’t appeal or file a habeas petition, when the period for appealing or filing a habeas petition has expired.
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